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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiff,                                            8:13CR214

        vs.
                                                                               ORDER
JAMES BUCHHOLZ,

                        Defendant.


This matter is before the court on defendant's MOTION TO EXTEND THE DEADLINE TO FILE
PRETRIAL MOTIONS [26]. For good cause shown, I find that the motion should be granted. The
defendant will be given an approximate 30-day extension. Pretrial Motions shall be filed by July 19,
2013.


        IT IS ORDERED:


        1.      Defendant's MOTION TO EXTEND THE DEADLINE TO FILE PRETRIAL
MOTIONS [26] is granted. Pretrial motions shall be filed on or before July 19, 2013.


        2.      The ends of justice have been served by granting such motion and outweigh the interests
of the public and the defendant in a speedy trial. The additional time arising as a result of the granting of
the motion, i.e., the time between June 19, 2013 and July 19, 2013, shall be deemed excludable time in
any computation of time under the requirement of the Speedy Trial Act for the reason defendant's counsel
required additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).




        Dated this 19th day of June, 2013.

                                                           BY THE COURT:

                                                           s/ F.A. Gossett, III
                                                           United States Magistrate Judge
